Case 3:22-cv-00049-RSB-JCH Document 1-1

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CIVIL COVER SHEET HES. EAT?

The JS 44 civil cover sheet and the information contained herein neither reptace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

844 (Rev. 0421)

I. (a) PLAINTIFFS DEFENDANTS
Baby Doe, a Citizen of Afghanistan residing in NC, by and Joshua Mast, Stephanie Mast, Richard Mast, Kimberley
through next friends, John and Jane Doe, et al. Motley, Ahmad Osmani

(b) County of Residence of First Listed Plaintiff Pender, NC
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant Pender, NC
(IN US. PLAINTIFF CASES ONLY

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number)

fi Attorneys (i/ Known)
Maya M. Eckstein (VSB No. 41413)
Lewis F. Powell I!l (VSB No. 18266)
HUNTON ANDREWS KURTH LLP
II. BASIS OF JURISDICTION (iace an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an "x" in One Box for Plaintiff
(For Diversity Cases Gniy) and One Box for Defendant)
(J! U.S. Government [_] 3 Federal Question DEF PTF DEF
Piaintiff (US. Government Not a Party) Citizen of This State C1! [AX 1 Incorporated or Principal Place Ll+ O14
of Business In This State
[2 U.S. Government 4 Diversity Citizen of Another State LJ2 [J 2 Incorporated and Principal Place O;> 5
Defendant (indicate Citizenship of Parties in Item IL) of Business In Another State
Citizen or Subject ofa —X]3 (J 3 Foreign Nation Li« (16
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY [_]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 316 Airplane [_] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (i USC
130 Miller Act 315 Airplane Product Product Liability [690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CJ 367 Health Caref INTELLECTUAL 400 State Reapportionment
[_] 150 Recovery of Overpayment [—] 320 Assault, Libel & Pharmaceutical PROPERTYRIGHTS —_[] 410 Antitust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act |_| 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability [_] 368 Asbestos Personal r 835 Patent - Abbreviated 460 Deportation
Student Loans 4 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880Defend Trade Secrets [_] 480 Consumer Credit
of Veteran’s Benefits 4 350 Motor Vehicle H 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
190 Other Contract Product Liability UO 380 Other Personal | 720 Labor/Manag - . SOCIAL SECURITY Protection Act
195 Contract Product Liability X)]360 Other Personal Property Damage Relations 861 HIA (1395ff) H 490 Cable/Sat TV
196 Franchise Injury [LJ 385 Property Damage Hist Railway Labor Act 862 Black Lung (923) 850 Securities/Commadities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) | Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 899 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |" ]790 Other Labor Litigation [| 865 RSI (405(2)) |_| 891 Agricultural Acts
|_]210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement || 893 Environmental Matters
220 Foreclosure 44! Voting 463 Alien Detaince Income Security Act .’: FEDERAL TAX SUITS ” 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment | 510 Motions to Vacate i} 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations |_| 530 General [_] 871 IRS—Third Party 899 Administrative Procedure
[_]290 All OtherRealProperty [7] 445 Amer. w/Disabilities- [535 Death Penalty [IMMIGRATION | 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
[| 446 Amer. w/Disabilities - [7] 540 Mandamus & Other 465 Other Immigration [_] 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

¥. ORIGIN (Place an "X" in One Box Onb)

Bl 1 Original 2 Removed from oO 3. Remanded from oO 4 Reinstated or oO 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (De not cite furisdictional statutes untess diversity):
28 U.S.C. § 1332

Brief description of cause:
Conspiracy, tortious interference with parental rights, fraud, intentional infliction of emotional distress, and false imprisonment

py. REQUESTED INCHECK IF THISIS A CLASS — $10,00,000.00 CHECK YES only if demanded in complaint:

VI. CAUSE OF ACTION

ACTION DEMAND JURY DEMAND: [XlYes_ 1] No

COMPLAINT: UNDER RULE 23, F.R.Cv.P. Declaratory Judgment

VITI. RELATED CASE({S) )
instructit 2

IF ANY (ee insructions!|— nge Moon DOCKETNUMBER Case No. 3:20-cv-9
DATE SIGNATURE OF ATTORNEY OF RECORD
ogh22022 isi Maya M. Eckstein
FOR OFFICE USE ONLY

RECEIPT # AMOUNT YO?. OO APPLYING IFP JUDGE [To Yu MAG. JUDGE

B00 BBC
